Case 3:18-cv-10507-PGS-JBD Document 185 Filed 11/10/23 Page 1 of 2 PageID: 7832



                                                                       Paul J. Fishman
                                                                       +1 973.776.1901 Direct
                                                                       Paul.Fishman@arnoldporter.com




                                                      November 10, 2023


     VIA ECF

     Hon. Peter G. Sheridan
     United States District Judge
     District of New Jersey
     Clarkson S. Fisher Building & U.S. Courthouse
     402 East State Street
     Trenton, NJ 08608

             Re:     Association of New Jersey Rifle & Pistol Clubs, Inc., et al., v. Platkin et
                     al., Civil Action No. 3:18-cv-10507
                     Cheeseman et al v. Platkin et al. Civil Action No. 1:22-cv-04360
                     Ellman et al. v. Platkin et al., Civil Action No. 3:22-cv-04397

     Dear Judge Sheridan:

            We represent Giffords Law Center to Prevent Gun Violence, Brady Center to
     Prevent Gun Violence, and March for Our Lives (together, “Amici”) who are seeking leave
     with the consent of the parties to file a brief amicus curie in the above-referenced action.
     In accordance with this Court’s Individual Practices, we submit this letter in lieu of a more
     formal application, seeking the pro hac vice admission of Aaron R. Marcu and Jennifer
     Loeb pursuant to Local Civil Rule 101.1(c).

             In making this application, we enclose:

                     •   Certification of Paul J. Fishman;
                     •   Certification of Aaron R. Marcu;
                     •   Certification of Jennifer Loeb;
                     •   Proposed Order; and a
                     •   Certificate of Service.

            If the enclosed application and proposed Order are acceptable, we respectfully
     request that you execute the Order and have it filed with the Clerk of the Court.



Arnold & Porter Kaye Scholer LLP
One Gateway Center, Suite 1025 | Newark, NJ 07102-5315 | www.arnoldporter.com
Case 3:18-cv-10507-PGS-JBD Document 185 Filed 11/10/23 Page 2 of 2 PageID: 7833




    November 10, 2023
    Page 2

                                          Respectfully Submitted,

                                          s/ Paul J. Fishman
                                          Paul J. Fishman

                                          Attorney for Proposed Amici Curiae
                                          Giffords Law Center to Prevent Gun
                                          Violence, Brady Center to Prevent Gun
                                          Violence, and March for Our Lives

    cc: All counsel of record (via ECF)
